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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 19-Civ-25046-SCOLA


  FEDERAL TRADE COMMISSION,

          Plaintiff,

          v.

  ON POINT GLOBAL, LLC, et al.,

          Defendants.




                                   Case No. 14-CV-60166-SCOLA


  FEDERAL TRADE COMMISSION,

          Plaintiff,

          v.

  ACQUINITY INTERACTIVE, LLC, et al.,

          Defendants.




    PLAINTIFF FEDERAL TRADE COMMISSION’S INDEX OF OFFERED EXHIBITS

                                            Volume 1 of 3

   PLF. NO.       Description of Exhibits                                  Date      Date
                                                                           Offered   Admitted
   PX1C1          Screenshot of portal/feeder site californiadrivers.org   3-Nov     3-Nov

   PX1C2          Screenshot of portal/feeder site                         3-Nov     3-Nov
                  floridadriverslicenses.org
   PX1E           OnPointGlobal.com website capture                        3-Nov     3-Nov

                                                   1
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   PLF. NO.   Description of Exhibits                                Date      Date
                                                                     Offered   Admitted
   PX1F       OnPointGuides.com website capture                      3-Nov     3-Nov
   PX1G       DragonGlobal.com website capture                       3-Nov     3-Nov
   PX1J       License-driver.com Purchase captures                   9-Nov     9-Nov
   PX1N       License-guides.org Purchase captures                   9-Nov     9-Nov
   PX1Q       DMV.com Mobile Purchase captures                       9-Nov     9-Nov
   PX1U       Section-8-Housing.org captures                         3-Nov     3-Nov
   PX1W       Section-8-Housing.org-Section 8 Housing Guide          3-Nov     3-Nov
   PX1X1      Email from Research Unlimited Group to FTC             3-Nov     3-Nov
              undercover profile, RE: We Found a Check In Your
              Name, dated May 8, 2019
   PX1X2      Email from Research Unlimited Group to FTC             3-Nov     3-Nov
              undercover profile, RE: CITIBANK Card Cleared
              ($1,000!) Congrats, [REDACTED], dated July 5, 2019
   PX1Z       Fishinglicense.org Purchase captures                   9-Nov     9-Nov
   PX1AR      Direct-Market.com website capture                      3-Nov     3-Nov
   PX1AU10    LinkedIn profile - Elisha (Eli) Rothman                3-Nov     3-Nov
   PX1AU12    LinkedIn profile - Christopher Sherman                 3-Nov     3-Nov
   PX1AU13    LinkedIn profile - Bob Zangrillo                       3-Nov     3-Nov
   PX1AV1     Instagram screenshot - @bobzangrillo 11/19/17          3-Nov     3-Nov
   PX1AV2     Instagram screenshot - @bobzangrillo 1/26/18           3-Nov     3-Nov
   PX1AY      Domains by Proxy-Certificate of Business Records       3-Nov     3-Nov
   PX1AZ      Domains by Proxy-summary chart                         3-Nov     3-Nov
   PX1BF1     Emailed invoices from Domain Development Studios       4-Nov     4-Nov
   PX9C       Documents Donaldson Services LLC d/b/a PostalAnnex     4-Nov     4-Nov
              of New Braunfels produced to the FTC
   PX9E       Documents UPS Store #1666 produced to the FTC          4-Nov     4-Nov
   PX9F       Documents Oregon Blue Skies LLC d/b/a PostalAnnex      4-Nov     4-Nov
              195 produced to the FTC
   PX9H       Documents PostNet (3827 Phelan Blvd, Beaumont, TX)     4-Nov     4-Nov
              produced to the FTC
   PX9J       Documents PostNet (6725 Fairmont Pkwy, Pasadena,       4-Nov     4-Nov
              TX) produced to the FTC
   PX9K       Documents Neighbor's Postal Plus produced to the FTC   4-Nov     4-Nov
   PX9N       Documents Vish Enterprises Inc. d/b/a PostalAnnex      4-Nov     4-Nov
              #270 produced to the FTC
   PX11A2     EMS account, GNR Media                                 4-Nov     4-Nov
   PX11A6     EMS account, Yamazaki Media                            4-Nov     4-Nov
   PX11A10    EMS account, GNR Media                                 4-Nov     4-Nov
   PX11A11    EMS account, GNR Media                                 4-Nov     4-Nov
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   PLF. NO.   Description of Exhibits                                 Date      Date
                                                                      Offered   Admitted
   PX11B1     Esquire account, Pirate Media                           4-Nov     4-Nov
   PX11B3     Esquire account, Yamazaki Media                         4-Nov     4-Nov
   PX11B4     Esquire account, Pirate Media                           4-Nov     4-Nov
   PX11B12    Esquire account, Yamazaki Media                         4-Nov     4-Nov
   PX11B14    Esquire account, GNR Media                              4-Nov     4-Nov
   PX11B15    Esquire account, Orange Grove Media                     4-Nov     4-Nov
   PX11B17    Esquire account, GNR Media                              4-Nov     4-Nov
   PX11B20    Esquire account, Orange Grove Media                     4-Nov     4-Nov
   PX11B22    Esquire account, Pirate Media                           4-Nov     4-Nov
   PX11E2     Merrick account, Yamazaki Media                         4-Nov     4-Nov
   PX11E3     Merrick account, Yamazaki Media                         4-Nov     4-Nov
   PX12C1     Bluebird Media LLC, International Finance Bank, 6844    4-Nov     4-Nov
   PX12C4     Cambridge Media Series, LLC, International Finance      4-Nov     4-Nov
              Bank, 6860
   PX12C7     Coinstar Media LLC, International Finance Bank, 6842    4-Nov     4-Nov
   PX12C8     Direct Market, LLC, International Finance Bank, 6839    4-Nov     4-Nov
   PX12C9     Domain Development Studios, LLC, International          4-Nov     4-Nov
              Finance Bank, 6858
   PX12C11    GNR Media, LLC, International Finance Bank, 6866        4-Nov     4-Nov
   PX12C15    Leatherback Media Group LLC, International Finance      4-Nov     4-Nov
              Bank, 6841
   PX12C16    Macau Media LLC, International Finance Bank, 6843       4-Nov     4-Nov
   PX12C18    On Point Global LLC, International Finance Bank, 7593   4-Nov     4-Nov
   PX12C19    Orange Grove Media, LLC, International Finance Bank,    4-Nov     4-Nov
              6872
   PX12C24    Sandman Media Group LLC, International Finance          4-Nov     4-Nov
              Bank, 6840
   PX12C25    Spartacus Media LLC, International Finance Bank,        4-Nov     4-Nov
              6845
   PX12C28    Yamakazi Media LLC, International Finance Bank,         4-Nov     4-Nov
              6869
   PX12D11    Domain Development Studios LLC, Regions Bank,           4-Nov     4-Nov
              4191
   PX12D22    Orange Grove Media LLC, Regions Bank, 4345              4-Nov     4-Nov
   PX12D30    Yamazaki Media LLC, Regions Bank, 4272                  4-Nov     4-Nov
   PX12E1     On Point Global LLC, SunTrust Bank, 8548                4-Nov     4-Nov
   PX12F2     DG DMV, LLC, Wells Fargo, 735                           4-Nov     4-Nov
   PX12F3     Pirate Media, LLC, Wells Fargo, 1827                    4-Nov     4-Nov
   PX12F6     Cambridge Media LLC, Wells Fargo, 2249                  4-Nov     4-Nov
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   PLF. NO.   Description of Exhibits                                 Date      Date
                                                                      Offered   Admitted
   PX12F9     GNR Media LLC, Wells Fargo, 2695                        4-Nov     4-Nov
   PX12F10    Pirate Media LLC, Wells Fargo, 2711                     4-Nov     4-Nov
   PX12F15    PJ Groove Media LLC, Wells Fargo, 5738                  4-Nov     4-Nov
   PX12F18    GNR Media LLC, Wells Fargo, 6285                        4-Nov     4-Nov
   PX12F22    Orange Grove Media LLC, Wells Fargo, 6376               4-Nov     4-Nov
   PX12F23    PJ Groove Media LLC, Wells Fargo, 6586                  4-Nov     4-Nov
   PX12F28    Orange Grove Media LLC, Wells Fargo, 7236               4-Nov     4-Nov
   PX13       October 15, 2015 Compliance Report of Burton Katz       9-Nov     9-Nov
   PX18A1     Documents copied from Defendants' business premises     4-Nov     4-Nov
              (Invoices re: salary and rent)
   PX18A5     Documents copied from Defendants' business premises     3-Nov     3-Nov
              (Bob Zangrillo folder)
   PX18A7     Documents copied from Defendants' business premises     3-Nov     3-Nov
              (Notebook of resolutions)
   PX18A8     Documents copied from Defendants' business premises     3-Nov     3-Nov
              (On Point Letter)
   PX23A1     Documents copied from Defendants' business premises     3-Nov     3-Nov
              (LLC Agreement)
   PX23C      List of email custodians the FTC obtained from          4-Nov     4-Nov
              Defendants
   PX25A      Copy of floor plans associated with 350 NE 60th St,     3-Nov     3-Nov
              Miami, FL
   PX25J      Copy of correspondence about complaints from the        3-Nov     3-Nov
              Ohio Attorney
              General, the Nebraska Attorney General, Missouri
              Attorney General, the Pennsylvania Attorney General,
              and BBBs serving Southern Ohio, Northern Kentucky,
              and Southeast Indiana the FTC obtained from
              Defendants' business premises at 350 NE 60th St,
              Miami, FL
   PX25L      Copies of account termination letters from merchant     3-Nov     3-Nov
              processors the FTC obtained from Defendants' business
              premises at 350 NE 60th St, Miami, FL
   PX25V      Email from Chris Sherman to Burton Katz, RE: Re:        5-Nov     5-Nov
              food stamp sites, dated January 8, 2018
   PX25Y      Email from Chris Sherman to Ramiro Baluga and Elisha    3-Nov     3-Nov
              Rothman, RE: Path Flow, dated January 14, 2018
   PX25AA4    Email from Brent Levison to Bob Zangrillo, RE: Re:      8-Nov     8-Nov
              onpointguides.com URL, dated January 15, 2018
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   PLF. NO.    Description of Exhibits                               Date      Date
                                                                     Offered   Admitted
   PX25AA8  Email from Chris Sherman to Burton Katz, RE:             5-Nov     5-Nov
            AdMarketplace Sample Flows, dated March 28, 2018
   PX25AA10 Email from Chris Sherman to Burton Katz, RE: Fwd:        5-Nov     5-Nov
            Path Report, dated January 2, 2018
   PX25AA15 Email from Bob Zangrillo to Ken Rudin, RE: OnPoint,      5-Nov     5-Nov
            dated March 28, 2018
   PX25AA16 Email from Bob Zangrillo to John Caine, RE: OnPoint,     5-Nov     5-Nov
            dated March 28, 2018
   PX33A    Email from Burton Katz to Bob Zangrillo, RE: Re: Final   3-Nov     3-Nov
            On Point Global LLC comments, dated December 17,
            2017
   PX33B    Email from Burton Katz to Bob Zangrillo, RE: Re:         8-Nov     8-Nov
            Website updates for OnPoint, Dragon Global and Magic
            CIty, dated December 18, 2017
   PX33F    Email from Sara Catanzano to Brent Levison, Burton       5-Nov     5-Nov
            Katz, and others, RE: Ending DEC CB Tracker, dated
            January 3, 2018
   PX33G    Email from Elisha Rothman to Burton Katz, Chris          5-Nov     5-Nov
            Sherman, and others, RE: food stamp sites, dated
            January 7, 2018
   PX33L    Email from Sara Catanzano to Burton Katz, Brent          5-Nov     5-Nov
            Levison, and others, RE: CB Tracker 1/15, dated
            January 17, 2018
   PX33N    Email from Alicia Nuche to Andrea Gallardo, RE: Re:      4-Nov     4-Nov
            New Account - Onpoint Global LLC, dated January 19,
            2018
   PX33P    Email from Elisha Rothman to Chris Sherman, RE: rpu      5-Nov     5-Nov
            tracker, dated January 19, 2018
   PX33S    Email from Sara Catanzano to Burton Katz, Brent          5-Nov     5-Nov
            Levison, and others, RE: CB Tracker 1/22, dated
            January 24, 2018
   PX33V    Email from Sara Catanzano to Burton Katz, Brent          5-Nov     5-Nov
            Levison, and others, RE: CB Tracker 1/29, dated
            January 31, 2018
   PX33X    Email from Bob Zangrillo to Burton Katz, RE: Re:         5-Nov     5-Nov
            Leadership Development and Team Building, dated
            February 6, 2018
   PX33Z    Email from Megan Black to Nicole Goldberg, RE: Re:       8-Nov     8-Nov
            Bob Bellack, CFO candidate, dated February 10, 2018
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   PLF. NO.      Description of Exhibits                                    Date          Date
                                                                            Offered       Admitted
   PX33AG        Email from Elisha Rothman to Arlene Mahon, Alicia          9-Nov         9-Nov
                 Nuche, and others, RE: feb citi statement, dated
                 February 27, 2018

  Dated: November 18, 2021                    Respectfully submitted,

                                              /s/ Sarah Waldrop
                                              Sarah Waldrop, Special Bar No. A5502583
                                              (202) 326-3444; swaldrop@ftc.gov
                                              Sana Chaudhry, Special Bar No. A5502350
                                              (202) 326-2679; schaudhry@ftc.gov
                                              Christopher Erickson, Special Bar No. A5502434
                                              (202) 326-3671; cerickson@ftc.gov
                                              Federal Trade Commission
                                              600 Pennsylvania Ave. NW, CC 9528
                                              Washington, DC 20580
                                              Facsimile: (202) 326-3197
                                              Attorneys for Plaintiff, Federal Trade Commission


                                  CERTIFICATE OF SERVICE

  I hereby certify that on November 18, 2021, I served a true and correct copy of the foregoing and
  all related documents via this Court's CM/ECF filing system on all counsel of record.

                                                      /s/ Sarah Waldrop
                                                      Sarah Waldrop
